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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 Midas Green Technologies, LLC,

        Plaintiff,                                Civil Action No. 6:22-cv-00050-ADA

                - vs. -                           Jury Trial Demanded

 Rhodium Enterprises, Inc.;
 Rhodium Technologies LLC;
 Rhodium 10mw LLC;
 Rhodium 2.0 LLC;
 Rhodium 30mw LLC;
 Rhodium Encore LLC;
 Rhodium Industries LLC;
 Rhodium JV LLC;
 Rhodium Renewables LLC;
 Rhodium Shared Services LLC;
 Rhodium Shared Services PR Inc.;
 Chase Blackmon;
 Cameron Blackmon; and
 Nathan Nichols,

        Defendants.


         FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Midas Green Technologies, LLC (“Midas” or “Plaintiff”) hereby brings this action for

patent infringement against each of Rhodium Enterprises, Inc., Rhodium Technologies LLC,

Rhodium 10mw LLC, Rhodium 2.0 LLC, Rhodium 30mw LLC, Rhodium Encore LLC,

Rhodium Industries LLC, Rhodium JV LLC, Rhodium Renewables LLC, Rhodium Shared

Services LLC, and Rhodium Shared Services PR Inc. (together “Rhodium”), as well as against

each of Chase Blackmon, Cameron Blackmon, and Nathan Nichols in their individual capacities

(together “the Individual Defendants”).

       Midas alleges infringement of U.S. Patent No 10,405,457, entitled “Appliance Immersion

Cooling System” (the ’457 patent) and U.S. Patent No. 10,820,446, entitled “Appliance

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Immersion Cooling System” (the ’446 patent), at least by reason of Defendants’ continued

operation of their infringing bitcoin mining facilities in Rockdale, Texas, and elsewhere,

including without limitation their contemplated operation of their second bitcoin mining facility

presently under construction in Temple, Texas.

         True and correct copies of the ’457 and ’446 patents (together “Patents-in-Suit” or

“Asserted Patents”) are attached as Exhibits A and B, respectively.



                                              Parties

         1.     Plaintiff Midas Green Technologies, LLC is a Texas limited liability company

with its principal place of business at 8107 Springdale Road, Austin, Texas 78724. Midas

designs and builds immersion cooling solutions for use in data centers including cryptocurrency

mining facilities. Midas has been an innovative pioneer in the application of immersion cooling

technology.

         2.     On information and belief, Defendant Rhodium Enterprises, Inc. is a Delaware

corporation formed on April 22, 2021. On information and belief, Rhodium Enterprises, Inc.

conducts business in Texas, including in this District, and including in the Waco Division,

including by way of its subsidiaries as described herein. According to its most recent SEC filing,

Rhodium Enterprises, Inc. is a holding company and the sole managing member of Defendant

Rhodium Technologies LLC. See SEC Amendment No. 6 to Form S-1 at F-16, Rhodium

Enterprises, Inc. (Jan. 18, 2022), available at

https://www.sec.gov/Archives/edgar/data/0001874985/000121390022002442/fs12022a6_rhodiu

m.htm.

         3.     On information and belief, Defendant Rhodium Technologies LLC is a Delaware

limited liability company formed on October 23, 2020. On information and belief, Rhodium

Technologies LLC was formerly known as Rhodium Enterprises LLC. On information and

belief, Rhodium Technologies LLC is a subsidiary of Defendant Rhodium Enterprises, Inc. On

information and belief, Rhodium Technologies LLC conducts business in Texas, including in

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this District, and including in the Waco Division, including by way of its subsidiaries as

described herein. According to the foregoing most-recent Amended SEC Form S-1 filing,

Defendant Rhodium Technologies LLC is a holding company. In the foregoing most-recent

Amended SEC Form S-1 filing, Defendant Rhodium Technologies LLC is known as “Rhodium

Holdings.”

       4.      On information and belief, Defendant Rhodium 10mw LLC is a Delaware limited

liability company formed on March 12, 2021. On information and belief, Rhodium 10mw LLC is

an operating company and a subsidiary of Defendant Rhodium Technologies LLC. On

information and belief, Rhodium 10mw LLC conducts business in Texas, including in this

District, and including in the Waco Division.

       5.      On information and belief, Defendant Rhodium 2.0 LLC is a Delaware limited

liability company formed on December 17, 2020. On information and belief, Rhodium 2.0 LLC

is an operating company and a subsidiary of Defendant Rhodium Technologies LLC. On

information and belief, Rhodium 2.0 LLC conducts business in Texas, including in this District,

and including in the Waco Division.

       6.      On information and belief, Defendant Rhodium 30mw LLC is a Delaware limited

liability company formed on April 1, 2020. On information and belief, Rhodium 30mw LLC is

an operating company and a subsidiary of Defendant Rhodium Technologies LLC. On

information and belief, Rhodium 30mw LLC conducts business in Texas, including in this

District, and including in the Waco Division.

       7.      On information and belief, Defendant Rhodium Encore LLC is a Delaware

limited liability company formed on January 1, 2021. On information and belief, Rhodium

Encore LLC is an operating company and a subsidiary of Defendant Rhodium Technologies

LLC. On information and belief, Rhodium Encore LLC conducts business in Texas, including in

this District, and including in the Waco Division.

       8.      On information and belief, Defendant Rhodium Industries LLC is a Delaware

limited liability company formed on May 17, 2021. On information and belief, Rhodium

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Industries LLC is an operating company and a subsidiary of Defendant Rhodium Technologies

LLC. On information and belief, Rhodium Industries LLC conducts business in Texas, including

in this District, and including in the Waco Division.

       9.      On information and belief, Defendant Rhodium JV LLC is a Delaware limited

liability company formed on April 1, 2020. On information and belief, Rhodium JV LLC is an

operating company and a subsidiary of Defendant Rhodium Technologies LLC. On information

and belief, Rhodium JV LLC conducts business in Texas, including in this District, and

including in the Waco Division.

       10.     On information and belief, Defendant Rhodium Renewables LLC is a Delaware

limited liability company formed on March 17, 2021. On information and belief, Rhodium

Renewables LLC is an operating company and a subsidiary of Defendant Rhodium Technologies

LLC. On information and belief, Rhodium Renewables LLC conducts business in Texas,

including in this District, and including in the Waco Division.

       11.     On information and belief, Defendant Rhodium Shared Services LLC is a

Delaware limited liability company formed on December 23, 2020. On information and belief,

Rhodium Shared Services LLC is an operating company and a subsidiary of Defendant Rhodium

Technologies LLC. On information and belief, Rhodium Shared Services LLC conducts business

in Texas, including in this District, and including in the Waco Division.

       12.     On information and belief, Defendant Rhodium Shared Services PR Inc. is a

Puerto Rico corporation formed on November 24, 2021. On information and belief, Rhodium

Shared Services PR Inc. is an operating company and a subsidiary of Defendant Rhodium

Technologies LLC. On information and belief, Rhodium Shared Services PR Inc. conducts

business in Texas, including in this District, and including in the Waco Division. On information

and belief, the business of Defendant Rhodium Shared Services PR Inc. includes facilitating the

employment of personnel for Rhodium Enterprises, Inc. and its subsidiaries.

       13.     The foregoing SEC filing describes each of Defendants Rhodium 10mw LLC,

Rhodium 2.0 LLC, Rhodium 30mw LLC, Rhodium Encore LLC, Rhodium Industries LLC,

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Rhodium JV LLC, Rhodium Renewables LLC, Rhodium Shared Services LLC, and Rhodium

Shared Services PR Inc. as operating subsidiaries of Rhodium Technologies LLC. Accordingly,

these defendants will be collectively be referenced herein as “the Rhodium Operating

Subsidiaries.”

       14.       On information and belief, Defendant Chase Blackmon is a Texas resident and is

a co-founder and the Chief Operating Officer of both Rhodium Enterprises, Inc. and Rhodium

Technologies LLC. Chase Blackmon is a director nominee for the board of directors of Rhodium

Enterprises. Chase Blackmon also owns shares of both Rhodium Enterprises and Rhodium

Technologies by way of an entity called Imperium Investment Holdings LLC. Imperium is the

majority and controlling owner of both Rhodium entities. According to the foregoing SEC filing,

Chase Blackmon controls 25% of the voting interests in Imperium. On information and belief,

Defendant Chase Blackmon personally directed, participated in, authorized, and/or ratified the

infringing conduct of Rhodium Enterprises, Inc., Rhodium Technologies LLC, and/or of the

Rhodium Operating Subsidiaries. For example, on information and belief, Defendant Chase

Blackmon helped design Defendants’ infringing immersion cooling systems, and he directs,

participates in, and makes decisions regarding the making and use of the infringing immersion

cooling systems.

       15.       On information and belief, Defendant Cameron Blackmon is a Texas resident and

is a co-founder and the Chief Technology Officer of both Rhodium Enterprises, Inc. and

Rhodium Technologies LLC. Cameron Blackmon is a director nominee for the board of directors

of Rhodium Enterprises. Cameron Blackmon also owns shares of both Rhodium Enterprises and

Rhodium Technologies through Imperium Investment Holdings LLC. According to the

foregoing SEC filing, Cameron Blackmon controls 25% of the voting interests in Imperium. On

information and belief, Defendant Cameron Blackmon personally directed, participated in,

authorized, and/or ratified the infringing conduct of Rhodium Enterprises, Inc., Rhodium

Technologies LLC, and/or of the Rhodium Operating Subsidiaries. For example, on information

and belief, Defendant Cameron Blackmon helped design and develop Defendants’ infringing

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immersion cooling systems, and he directs, participates in, and makes decisions regarding the

making and use of the infringing immersion cooling systems.

       16.     On information and belief, Defendant Nathan Nichols is a Texas resident and is a

co-founder and the Chief Executive Officer of both Rhodium Enterprises, Inc. and Rhodium

Technologies LLC. Nathan Nichols serves on the board of directors for Rhodium Enterprises.

Nathan Nichols also owns shares of both Rhodium Enterprises and Rhodium Technologies

through Imperium Investment Holdings LLC. According to the foregoing SEC filing, Nathan

Nichols controls 25% of the voting interests in Imperium. On information and belief, Defendant

Nathan Nichols personally directed, participated in, authorized, and/or ratified the infringing

conduct of Rhodium Enterprises, Inc., Rhodium Technologies LLC, and/or of the Rhodium

Operating Subsidiaries. For example, on information and belief, Defendant Nathan Nichols

helped design and develop Defendants’ infringing immersion cooling systems, and he directs,

participates in, and makes decisions regarding the making and use of the infringing immersion

cooling systems.

       17.     On information and belief, Defendant Rhodium Enterprises, Inc., Defendant

Rhodium Technologies LLC, and the Rhodium Operating Subsidiaries operate in actuality as a

single operating entity and are alter egos of each other. For example, throughout the previously

referenced SEC filings of Defendant Rhodium Enterprises, references to “we” and “our”

describe the operations of the various operating subsidiaries as a collective entity, “Rhodium.”

See id. at 62 (“‘Rhodium,’ ‘we,’ and ‘us’ refers to (i) each of Rhodium Holdings and Rhodium

JV’s wholly and majority-owned subsidiaries as of the period from April 1, 2020 to December

31, 2020 and (ii) Rhodium and its subsidiaries for the nine months ended September 30, 2021.

During the period ended December 31, 2020, Rhodium operated through its wholly and

majority-owned subsidiaries.”); F-2 (“Rhodium Enterprises, Inc., the issuer in this offering

(together with its wholly owned subsidiaries, “Rhodium Enterprises” or the “Company”); F-16

(“The Company, together with its subsidiaries, operates a digital asset mining operation, which

utilizes specialized computers (also known as “miners”) using application-specific integrated

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circuit (“ASIC”) chips to solve complex cryptographic algorithms in order to support the Bitcoin

blockchain (in a process known as “solving a block”), in exchange for digital asset (Bitcoin)

rewards.”). Specifically, “Rhodium Enterprises is the sole managing member of Rhodium

Holdings, controls, and is responsible for all operational, management and administrative

decisions related to Rhodium Holdings’ business and consolidates the financial results of

Rhodium Holdings and its subsidiaries.” Id. at F-16.

       18.     On information and belief, Defendant Rhodium Enterprises, Inc., Defendant

Rhodium Technologies LLC, and the Rhodium Operating Subsidiaries have common stock

ownership. Each Individual Defendant owns shares of both Defendant Rhodium Enterprises, Inc.

and Defendant Rhodium Technologies LLC through Imperium Investment Holdings LLC. See

SEC Amendment No. 6 to Form S-1 at 102. Rhodium Technologies LLC in turn directly or

indirectly owns all of the outstanding equity interests in the Rhodium Operating Subsidiaries. Id.

at 103–05.

       19.     On information and belief, the Rhodium Operating Subsidiaries share common

directors and officers with Defendant Rhodium Enterprises, Inc. and Defendant Rhodium

Technologies LLC.

       20.     Defendant Rhodium Enterprises, Inc., Defendant Rhodium Technologies LLC,

and the Rhodium Operating Subsidiaries file consolidated financial statements. Id. at F-17 (“The

condensed consolidated financial statements include the accounts of Rhodium Enterprises Inc.

and its respective subsidiaries.”)

       21.     On information and belief, Defendant Rhodium Enterprises, Inc., Defendant

Rhodium Technologies LLC, and the Rhodium Operating Subsidiaries (except for Rhodium

Shared Services PR LLC) were incorporated by Defendant Cameron Blackmon, acting on behalf

of Imperium Investment Holdings LLC, a third party under the control of the Individual

Defendants.

       22.     On information and belief, the Rhodium Operating Subsidiaries are presently

undercapitalized and exist for the purposes of illegitimately shielding Defendant Rhodium

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Enterprises, Inc. and Rhodium Technologies LLC, and in turn the Individual Defendants, from

liability. On information and belief, the Rhodium Operating Subsidiaries would be unable to

satisfy any money judgement levied against them because of their undercapitalization and

because their revenues flow directly to Defendant Rhodium Enterprises, Inc. and Defendant

Rhodium Technologies LLC.

       23.     On information and belief, Defendant Rhodium Enterprises, Inc. and Defendant

Rhodium Technologies LLC finance the Rhodium Operating Subsidiaries.

       24.     On information and belief, Defendant Rhodium Shared Services LLC directly

pays the salaries of all Rhodium officers and employees, with the exception that Defendant

Rhodium Shared Services LLC indirectly pays the salary of Rhodium Chief Financial Officer

Nicholas Cerasuolo by way of its subsidiary, Defendant Rhodium Shared Services PR Inc.

       25.     On information and belief, Defendant Rhodium Enterprises, Inc., Defendant

Rhodium Technologies LLC, and the Rhodium Operating Subsidiaries use each other’s

properties as their own. For example, on information and belief, some or all of them operate out

of the same Rockdale, Texas bitcoin mining facility, among other facilities.

       26.     On information and belief, the daily operations of Defendant Rhodium

Enterprises, Inc., Defendant Rhodium Technologies LLC, and the Rhodium Operating

Subsidiaries are not kept separate. For example, on information and belief, they collectively

operate the same bitcoin mining operation. Id. At F-16 (“The Company, together with its

subsidiaries, operates a digital mining operation . . . .”). As discussed above, on information and

belief, some or all of them operate out of the same Rockdale, Texas bitcoin mining facility,

among other facilities. On information and belief, they also have common business departments.

       27.     On information and belief, the Rhodium Operating Subsidiaries receive no

business except through that allocated and arranged by Defendant Rhodium Enterprises, Inc.

and/or Defendant Rhodium Technologies LLC. For example, on information and belief,

Defendant Rhodium Enterprises, Inc. and/or Defendant Rhodium Technologies LLC negotiate

contracts on behalf of the Rhodium Operating Subsidiaries, or vice versa.

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          28.   On information and belief, Defendant Rhodium Enterprises, Inc., Defendant

Rhodium Technologies LLC, and the Rhodium Operating Subsidiaries do not observe corporate

formalities, including keeping separate books. See id. at F-17 (“The condensed financial

statements include the accounts of Rhodium Enterprises Inc. and its respective subsidiaries. All

inter-company accounts, balances, and transactions have been eliminated.”) (emphasis

added).

          29.   Each Rhodium Operating Subsidiary is an agent of Defendants Rhodium

Enterprises, Inc. and Defendant Rhodium Technologies LLC (aka Rhodium Holdings) and their

owners and operators, Chase Blackmon, Cameron Blackmon, and Nathan Nichols. On

information and belief, Defendant Rhodium Enterprises, Inc., Defendant Rhodium Technologies

LLC, and the Rhodium Operating Subsidiaries therefore act as a common enterprise, their

actions ultimately being directed by the Individual Defendants. Specifically, the Individual

Defendants direct and control the activities of Defendant Rhodium Enterprises, Inc. and

Defendant Rhodium Technologies LLC, and those Defendants in turn direct and control the

activities of the operating subsidiaries. The operating subsidiaries do not function as separate

entities, but rather as controlled agents of the parent entities and the operating subsidiaries act on

behalf of the parent entities. See, e.g., SEC Amendment No. 6 to Form S-1 at F-17 (referring to

the operating subsidiaries as “the subsidiaries through which the Company operates its assets”).



                                            Jurisdiction

          30.   This is a civil action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. § 101 et seq. The Court therefore has subject matter jurisdiction

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

          31.   Defendants are subject to this Court’s specific and general personal jurisdiction,

pursuant to constitutional due process and the Texas Long-Arm Statute, due at least to their

extensive business in this District, including by reason of their infringement alleged herein.

Specifically, and for example, on information and belief, Defendants own and operate an

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infringing bitcoin mining facility in Rockdale, Texas. See SEC Amendment No. 6 to Form S-1 at

1 (referring to Defendants’ Rockdale location as the “initial Texas site”). Rockdale, Texas is

located in Milam County, which is within the Western District of Texas. In addition, on

information and belief, Defendants’ “second Texas site” is currently under construction in

Temple, Texas. This second location is scheduled to open in 2022. See id. at 4. Temple, Texas is

located in Bell County, which is also within the Western District of Texas. On information and

belief, as of the time of the filing of this amended complaint, at least some of Defendants’

infringing immersion cooling systems originally intended for use at the “second Texas site” are

presently operating either at the “second Texas site” in Temple, Texas, or at an alternative

remote location.

       32.     On information and belief, Defendants have used, and are using, the claimed

technology of the Asserted Patents within this District and within Texas, thereby committing acts

of patent infringement. Defendants have derived revenues from these infringing activities within

the District and state. Defendants regularly conduct business in this District and state, deriving

substantial revenue therefrom, and therefore have committed purposeful acts in this District and

state such that they should reasonably anticipate being haled into this Court.
       33.     For example, on information and belief, Defendant Rhodium Shared Services PR

Inc., despite its relatively recent formation, has conducted business in this District and in Texas,

and indeed conducts most if not all of its business in this District and in Texas. On information

and belief, Defendant Rhodium Shared Services PR Inc. is a wholly owned subsidiary of Texas-

based Defendant Rhodium Shared Services LLC. At least one purpose of Defendant Rhodium

Shared Services PR Inc. is to receive funds from Texas-based Defendant Rhodium Shared

Services LLC, and to transfer those funds to Rhodium’s Chief Financial Officer Nicholas

Cerasuolo, in return for Mr. Cerasuolo’s provision of professional services to Rhodium

Enterprises, to Rhodium Technologies and to the Rhodium Operating Subsidiaries, while at the

same time—because Defendant Rhodium Shared Services PR Inc. is nominally an entity formed

in Puerto Rico—allowing Mr. Cerasuolo and potentially others to avoid federal income tax

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liability. On information and belief, Defendant Rhodium Shared Services has conducted business

in this District and in Texas, by for example, negotiating and becoming a party to a number of

Texas agreements. In fact, for example, Exhibit 10.14 of Rhodium's Amended SEC Form S-1

references an employment agreement between Mr. Cerasuolo and Defendant Rhodium Shared

Services PR Inc. entitled “FORM OF EMPLOYMENT AGREEMENT, BY AND BETWEEN

RHODIUM SHARED SERVICES PR INC. AND NICHOLAS CERASUOLO.” On information

and belief, Mr. Cerasuolo and Defendant Rhodium Shared Services PR Inc. have executed that

agreement, or shortly will execute that agreement, or at least, Mr. Cerasuolo and Defendant

Rhodium Shared Services PR Inc. are operating under that agreement, such that Mr. Cerasuolo is

being paid for his professional services by Texas-based Rhodium by way of Defendant Rhodium

Shared Services PR Inc. Moreover, according to Rhodium’s Amended SEC Form S-1, the

foregoing agreement includes a second agreement entitled “Confidentiality, Proprietary Rights

and Protective Covenants Agreement,” included as “Exhibit A to Offer Letter.” In this second

agreement, Defendant Rhodium Shared Services PR Inc. purports to act “on behalf of itself and

for the benefit of its corporate parents, subsidiaries, members, managers, and other entities under

common control with [Defendant Rhodium Shared Services PR Inc.]” In other words, Defendant

Rhodium Shared Services PR Inc. is purporting to act on behalf of the Texas-based Rhodium

Enterprises, Texas-based Rhodium Technologies and Texas-based Rhodium Operating

Subsidiaries. This second agreement provides for (1) mandatory arbitration of disputes in Texas;

(2) venue for legal proceedings to be held in Texas; and (3) interpretation of its provisions under

Texas law. On information and belief, Mr. Cerasuolo and Defendant Rhodium Shared Services

PR Inc. have executed this second agreement, or shortly will execute this agreement, or at least,

Mr. Cerasuolo and Defendant Rhodium Shared Services PR Inc. are operating under this second

agreement. On information and belief, discovery will show additional purposeful contacts on the

part of Defendant Rhodium Shared Services PR Inc. with Texas.




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                                                 Venue

       34.       Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1400(b). All

Defendants have at least two places of business in this District and in the Waco Division, i.e., in

Rockdale, Texas and in Temple, Texas. On information and belief, Defendants have committed

acts of infringement, or a portion thereof, at these two locations within this District and within

this Division.



                                         The Asserted Patents

                                          A. The ’457 Patent

       35.       U.S. Patent No. 10,405,457 (the ’457 patent), entitled “Appliance Immersion

Cooling System,” was duly and legally issued on September 3, 2019 by the U.S. Patent and

Trademark Office. The underlying application, U.S. Patent Application No. 14/355,533, was

filed on April 30, 2014. A true and correct copy of the ’457 patent is attached as Exhibit A and

incorporated by reference.

       36.       Midas is the assignee of all right, title, and interest in the ’457 patent, including all

rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ’457 patent. Accordingly, Midas possesses the exclusive right and

has standing to prosecute the present action for infringement of the ’457 patent by Defendants.

                                        B.      The ’446 Patent

       37.       U.S. Patent No. 10,820,446 (the ’446 patent), entitled “Appliance Immersion

Cooling System,” was duly and legally issued on October 27, 2020 by the U.S. Patent and

Trademark Office. The underlying application, U.S. Patent Application No. 16/243,732, was

filed on January 9, 2019, and is a continuation of the application which issued as the ’457 patent

filed on April 30, 2014. A true and correct copy of the ’446 patent is attached as Exhibit B and

incorporated by reference.

       38.       Midas is the assignee of all right, title, and interest in the ’446 patent, including all

rights to enforce and prosecute actions for infringement and to collect damages for all relevant

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times against infringers of the ’446 patent. Accordingly, Midas possesses the exclusive right and

has standing to prosecute the present action for infringement of the ’446 patent by Defendants.



                                 Rhodium and Its Infringements

        39.      Rhodium is “an industrial-scale digital asset technology company” that “mine[s]

bitcoin” with a “fully integrated” liquid cooling system. SEC Amendment No. 6 to Form S-1 at

1. Rhodium’s “founders spent the previous four years developing, testing and collecting field

operational data to optimize the application of [their] liquid-cooling technology to mining

bitcoin.” Id. Rhodium designs, builds, and operates data centers, also called “mining farms,”

consisting of “bitcoin miners” (i.e. high-powered computers) submerged in dielectric cooling

fluid within specialized tank modules. Id. at 1, 22. The miners mine bitcoin and thus generate

revenue. The liquid cooling system permits Rhodium to “predictably and consistently mine more

bitcoin with fewer miners” by “optimiz[ing] the hash rate, or processing power” of the miners.

Id. at 1.

        40.      According to the foregoing SEC filing, Rhodium does not sell immersion cooling

products to third parties, but instead is a fully integrated bitcoin mining operation that designs,

builds, and then operates its own allegedly-proprietary immersion cooling systems to mine

bitcoin and generate revenue. Id. at 1. On information and belief, Rhodium operates as a

common enterprise controlled by Rhodium Enterprises and/or by Rhodium Technologies, and/or

by their officers and primary shareholders, Defendants Chase Blackmon, Cameron Blackmon,

and Nathan Nichols.




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       41.     On information and belief, Rhodium owns and operates a bitcoin mining facility

in Rockdale, Texas. Below are images from Rhodium’s Rockdale facility showing the infringing

liquid immersion cooling systems and tank modules:




See, e.g., “Investor Presentation 17.02.2020. In connection with proposed acquisition of

Distributed Ledger Technologies Ireland, Ltd, Element ASA” (February 17, 2020), available at
https://dltx.com/uploads/images/Reports-and-Documents/Presentations-and-Docs/Exemption-

Doc/Element_Investor_Presentation_210217.pdf.

       42.     On information and belief, therefore, Defendants have directly and indirectly

infringed at least claim 6 of the ’457 patent and at least claim 6 of the ’446 patent, as detailed in

the claim charts attached as Exhibits C and D, respectively.


       Defendants’ Knowledge of the Asserted Patents, Their Infringements, and the
                           Prior Claim Construction Order
       43.     As detailed below, all Defendants have had actual notice of the Asserted Patents

and their own infringements for some time. For example, on information and belief, the

Individual Defendants became aware of the ’457 patent and their infringements thereof no later

than February 2020, when they received a notice letter from Midas addressed to another entity


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founded by the Individual Defendants, i.e., Immersion Systems LLC. Further, on information

and belief, the Individual Defendants became aware of the ’457 patent and their infringements

thereof, no later than November 24, 2020, when Midas amended its lawsuit against Immersion

Systems to assert the ’457 patent.

       44.     Before founding any of their Rhodium entities, Individual Defendants Chase

Blackmon, Cameron Blackmon, and Nathan Nichols began to commercialize certain liquid

immersion cooling systems intended to be used in bitcoin mining operations. To sell those liquid

immersion cooling systems to third parties, the Individual Defendants formed an entity called

Immersion Systems LLC in 2018. Exemplary YouTube videos show Chase Blackmon and

Cameron Blackmon working on such immersion cooling systems. See AntMiner S9 – Immersion

Cooling Test, Feb. 17, 2018,

https://www.youtube.com/watch?v=DRck1Iegf2A&list=PL9DOPgDnAGCvxaMJFIGMDoQe-

2f36jMqG&index=2 (last accessed Apr. 15, 2022); Immersion Cooling – Beta Test 1, Feb. 17,

2018, https://www.youtube.com/watch?v=SzUO-PMtda4 (last accessed Apr. 15, 2022); see also

SEC Amendment No. 6 to Form S-1 at 1 (“Our founders spent the previous four years

developing, testing, and collecting field operational data to optimize the application of our

liquid-cooling technology to mining bitcoin.”).




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                 Cameron Blackmon                            Chase Blackmon




       45.    From Immersion Systems’ YouTube channel and Twitter feed, numerous images

and videos are available of these liquid immersion cooling systems.

       46.    For example, below is a picture from a November 12, 2019 tweet, depicting a

stack of immersion cooling tank modules, from Immersion System’s Twitter feed with the
caption “Another shipment out! Here was have [sic] 5 Bitmain S9 tanks, fitting 42 miners each.”




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See https://twitter.com/ImmersionSystem/status/1194318079758610438 (last accessed on Apr.

15, 2022).




       47.    In another example, below is a picture from an October 15, 2019 tweet, with the

caption “Another shipment ready to go at Immersion Systems! We deploy, at industrial scale,

liquid immersion crypto-mining solutions. We provide free fluid extraction and tech replacement




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if you want to upgrade your miners on site. Contact us at sales@immersionsystems.io for more

info.”

         48.   In another example, below is a picture from a July 21, 2019 tweet, with the

caption “Preparing another order for shipping out this week! All of our systems are thoroughly

tested prior to shipping. @ourbcma @MiningDisrupt #immersioncooling #mining #bitcoin.”




         49.   In another example, Immersion System’s YouTube channel loaded a five-minute

video entitled “Introduction” on December 10, 2018. See

https://www.youtube.com/watch?v=kQ6cycss5ds (last accessed Apr. 15, 2022). That video
features individual Defendant Chase Blackmon and contains detailed explanations and videos




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clips of Immersion Systems’ “flagship” immersion cooling system, designed by Defendants

Chase Blackmon, Cameron Blackmon, and Nathan Nichols.

       50.     The exemplar video shows the structure of the immersion cooling systems

designed by Chase Blackmon, Cameron Blackmon, and Nathan Nichols, including its central

area with appliance slots, holed weir design, winged fluid recovery chambers on either side of

the central area, the dielectric fluid flowing up through the central area and the appliance slots,

and the pump system sending the heated dielectric fluid to a dry cooler and then back. See id. at

0:44 (“In here, you can see this is BitCool that we use to pump up through the miners and then it

exits the sides in a fluid recovery chamber.”).




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       51.     From approximately 2018 to 2020, Immersion Systems promoted infringing

immersion cooling systems with this design to third parties for use in bitcoin mining operations.

       52.     On the basis of these videos and photos, Midas sent a detailed letter and claim

chart to Immersion Systems on February 7, 2020, explaining that Immersion Systems’

immersion cooling systems infringed the ’457 patent. On information and belief, each of the

Individual Defendants received and actually read Midas’ February 7, 2020 letter around the time

that it was sent. Immersion did not respond to that letter, or a second sent shortly thereafter.

       53.     After Immersion Systems did not respond to the second letter from Midas, Midas

filed suit against Immersion Systems on May 29, 2020 in the Northern District of Texas, Midas

Green Technologies, LLC v. Immersion Systems LLC, No. 4:20-cv-00555-O (hereafter, “the

Immersion Systems Litigation.”). On November 24, 2020, Midas amended its complaint to

include detailed allegations of patent infringement for the ’446 patent.

       54.     On information and belief, the Individual Defendants decided to shut down

Immersion Systems in 2020, shortly after receiving Midas’ first letter on February 7, 2020. On

information and belief, the Individual Defendants made this decision to cease conducting

business under Immersion Systems because they then knew that their particular immersion

cooling systems infringed the ’457 patent.



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       55.    Around this time, as detailed further below, Individual Defendants Chase

Blackmon, Cameron Blackmon, and Nathan Nichols formed their first Rhodium entity in April

2020, i.e., Defendant Rhodium 30MW LLC. The purpose of this entity (and of the other

Rhodium Operating Subsidiaries) was not to sell immersion cooling systems to third parties, but

rather to use immersion cooling systems to mine bitcoin.

       56.    During the pendency of the Immersion Systems Litigation in the Northern District

of Texas litigation, the Individual Defendants caused Immersion Systems to take steps to conceal

the existence of the Individual Defendants’ new Rhodium businesses.

       57.    Exemplary photos from Defendants’ Rockdale, Texas facility (see above), and as

well as photos from Rhodium’s website (rhdm.com, see below), appear to suggest that the

immersion cooling systems of Rhodium are materially identical to the immersion cooling

systems previously promoted by the Individual Defendants by way of Immersion Systems.




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       58.     Because the immersion cooling systems products previously promoted by

Immersion Systems and the immersion cooling systems used by Rhodium appear to be

materially identical, each of the Individual Defendants had actual notice that the immersion

cooling systems of Rhodium infringed the ’457 patent, as of February 2020. Despite this

knowledge, on information and belief, the Individual Defendants decided to utilize the particular

immersion cooling systems that they had previously promoted via Immersion Systems, in the

Individual Defendants’ new Rhodium-labelled bitcoin mining business ventures.

       59.     On information and belief, all of the Rhodium defendants had actual and

constructive notice and knowledge of the ’457 patent as of their founding, at least by virtue of

the actual notice of the ’457 patent possessed by the Individual Defendants.

       60.     On information and belief, all of the Rhodium defendants had actual knowledge

that their immersion cooling systems would infringe the ’457 patent as of their founding, at least

by virtue of the knowledge of infringement possessed by the Individual Defendants.

       61.     On information and belief, each of the Defendants gained actual notice of the ’446

patent in November of 2020, by virtue of the filing by Midas of its amended complaint in the

Immersion Systems Litigation. On information and belief, each of the Defendants had actual

notice that the immersion cooling systems of Rhodium infringed the ’446 patent, by virtue of the

filing by Midas of its amended complaint.

       62.     During the course of the Immersion Systems Litigation, Midas and Immersion

Systems submitted a Joint Claim Construction Chart (Dkt. 82 & 82-1) in which the parties

agreed to the proper construction of two claim terms, i.e., “weir” and “plenum,” and in which the

parties further agreed that seventeen other claim terms should be afforded their plain and

ordinary meaning. A true and correct copy of that filing is attached as Exhibit E.

       63.     On November 22, 2021, the Court in the Immersion Systems Litigation issued its

claim construction order, rejecting arguments from Immersion System that the ’457 and ’446

patents were invalid as indefinite, and adopting Midas’ proposed constructions as plain and

ordinary meaning, with regard to two disputed claim terms. A true and correct copy of the

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Court’s claim construction order is attached as Exhibit F. In its claim construction order, the

Court also adopted the proposed constructions for nineteen agreed-upon terms and phrases as set

forth in the parties’ Joint Claim Construction Chart (Dkt. 82 & 82-1).

       64.     On information and belief, as of their receipt of the foregoing claim construction

ruling from the Immersion Systems Litigation in late November 2021, the Defendants knew or

should have known that the Asserted Patents were valid and infringed by Defendants, to the

extent they did not already possess such knowledge.

       65.     The Amended SEC Form S-1 filed by Defendant Rhodium Enterprises, Inc. on

December 14, 2021 discloses the existence of the Immersion Systems Litigation, as well as

acknowledging the possibility that Midas might file a patent infringement lawsuit against

Rhodium. See SEC Amendment No. 4 to Form S-1 at 29, Rhodium Enterprises, Inc. (Dec. 14,

2021), available at https://sec.report/Document/0001213900-21-
065116/fs12021a4_rhodium.htm. Notably, the Form S-1 does not state that the Rhodium systems

or tanks are different in any material respect from the accused Immersion Systems systems or

tanks, amounting to a tacit admission that they are the same or similar in all material respects. Id.

Even after Midas filed the Original Complaint in this action, Rhodium filed an amended Form S-

1 acknowledging the lawsuit but not containing any statements that the Rhodium systems or

tanks differ in any material respect from the infringing Immersion Systems systems or tanks.

SEC Amendment No. 6 to Form S-1 at 4. Defendants’ disclosure of the Immersion Systems

Litigation, and a corresponding litigation risk to the Rhodium entities, in its Form S-1 further

demonstrates its knowledge of the asserted patents and of its infringement.

       66.     On information and belief, as of the filing of this suit on January 13, 2022, each of

the Defendants is well aware of the Asserted Patents, and each of the Defendants is well aware of

their infringements thereof.



                     Count 1: Infringement of U.S. Patent No. 10,405,457

       67.     Midas incorporates by reference the preceding paragraphs, as if set forth herein.

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       68.     The ’457 patent was filed April 30, 2014, and legally issued by the United States

Patent and Trademark Office on September 3, 2019. The ’457 patent is valid and enforceable,

and presumed as such pursuant to 35 U.S.C. § 282.

       69.     Without a license or permission from Midas, Defendants have infringed and

continue to infringe one or more claims of the ’457 patent, directly, contributorily, or by

inducement, by making, having made, using, offering for sale, or selling products and devices

that embody the patented invention in violation of 35 U.S.C. § 271.

       70.     Defendants’ infringement has been, and continues to be, knowing, intentional, and

willful, at least beginning February 7, 2020, with the delivery of Midas’ notice letter to

Immersion Systems, of which the Individual Defendants had contemporaneous notice.

       71.     Defendants’ acts of infringement of the ’457 patent have caused and will continue

to cause Midas damages for which Midas is entitled compensation pursuant to 35 U.S.C. § 284.

Defendants’ acts of infringement of the ’457 patent have caused and will continue to cause

Midas immediate and irreparable harm unless such infringing activities are enjoined by this

Court pursuant to 35 U.S.C. § 283. Midas has no adequate remedy at law.

                                    A.      Direct Infringement
       72.     On information and belief, Defendants have directly infringed one or more claims

of the ’457 patent in the Western District of Texas, the State of Texas, and elsewhere in the

United States, by at least making, having made, using, selling, and/or offering for sale appliance

immersion cooling systems that satisfy every limitation of at least claim 6 of the ’457 patent. If

any limitation of claim 6 is not practiced in a literal sense, then that limitation is present under

the doctrine of equivalents.

       73.     In particular, on information and belief, the Rhodium Operating Entities have

directly infringed one or more claims of the ’457 patent in the Western District of Texas, the

State of Texas, and elsewhere in the United States, by at least making, having made, using,

selling, and/or offering for sale appliance immersion cooling systems that satisfy every limitation

of at least claim 6 of the ’457 patent.

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         74.   On further information and belief, the Defendant Rhodium Enterprises, Inc. and

Defendant Rhodium Technologies LLC have directly infringed one or more claims of the ’457

patent in the Western District of Texas, the State of Texas, and elsewhere in the United States by

way of directing and controlling the activities of the Rhodium Operating Entities.

         75.   On further information and belief, each of the Individual Defendants has directly

infringed one or more claims of the ’457 patent in the Western District of Texas, the State of

Texas, and elsewhere in the United States, by personally committing some or all of the acts of

direct infringement described above including by directing, participating in, authorizing, and/or

ratifying the infringing conduct of Rhodium Enterprises, Inc., Rhodium Technologies LLC,

and/or the Rhodium Operating Subsidiaries. See Lubby Holdings LLC v. Chung, 11 F.4th 1355,

1358 (Fed. Cir. 2021) (rejecting the view that piercing the corporate veil is required for officer

liability and noting that “Corporate officers can be personally liable for their own acts of

infringement, even if those acts were committed in their corporate capacity.”)

         76.   In addition, each of the Defendants is liable for the direct infringement of one or

more claims of the ’457 patent in the Western District of Texas, the State of Texas, and

elsewhere in the United States, by reason of the direct infringement by one or more other

Defendants, because the Defendants operate as a common enterprise and are alter egos of each

other.

         77.   Attached as Exhibit C is an exemplary claim chart detailing representative

infringement of claim 6 of the ’457 patent.

                                  B.      Induced Infringement

         78.   On information and belief, Defendants have been and are inducing infringement

of the ’457 patent by actively and knowingly inducing others (including each other) to make,

have made, use, sell, offer for sale, or import the infringing immersion cooling systems and tank

modules that embody or use the invention claimed in the ’457 patent in violation of 35 U.S.C.

§ 271(b).



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       79.     Defendants have possessed specific intent to induce infringement of the ’457

patent. Specifically, Defendants have long been aware of the ’457 patent and the specific manner

in which their immersion cooling system design infringes the ’457 patent, by virtue of detailed

claim charts provided to the Individual Defendants and either shared with all other Defendants or

that all other Defendants have knowledge of their infringement through the knowledge of the

Individual Defendants, who are officers, directors, and owners of the Rhodium Defendants.

Despite this knowledge of the patent and the infringing design, Defendants have induced third

parties to take actions that they know will infringe, either directly or contributorily, through the

actions described in this section and throughout this complaint.

       80.     On information and belief, Defendants have induced infringement by providing

designs and instructions to third party manufacturers and contractors to have made infringing

immersion cooling systems and tank modules.

       81.     Defendant Rhodium Enterprises, Inc., Defendant Rhodium Technologies LLC

and Individual Defendants have induced infringement by willfully providing infringing

directions, instructions and designs for immersion cooling systems and tank modules to among

other parties, the Rhodium Operating Subsidiaries, for knowing use in infringing activity to mine

bitcoin and generate revenue.

       82.     Defendant Rhodium Enterprises, Inc., Defendant Rhodium Technologies LLC

and the Individual Defendants have also induced infringement by willfully directing and

controlling the infringing activities of the Rhodium Operating Subsidiaries.



                     Count 2: Infringement of U.S. Patent No. 10,820,446

       83.     Midas incorporates by reference the preceding paragraphs, as if set forth herein.

       84.     The ’446 patent was filed January 9, 2019, and legally issued by the United States

Patent and Trademark Office on October 27, 2020. The ’446 patent is valid and enforceable, and

presumed as such pursuant to 35 U.S.C. § 282.



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       85.     Without a license or permission from Midas, Defendants have infringed and

continue to infringe one or more claims of the ’446 patent, directly, contributorily, or by

inducement, by making, having made, using, offering for sale, or selling products and devices

that embody the patented invention in violation of 35 U.S.C. § 271.

       86.     Defendants’ infringement has been, and continues to be, knowing, intentional, and

willful, at least beginning November 24, 2020, with the filing of Midas’ amended complaint

against Immersion Systems, of which the Individual Defendants had contemporaneous notice.

       87.     Defendants’ acts of infringement of the ’446 patent have caused and will continue

to cause Midas damages for which Midas is entitled compensation pursuant to 35 U.S.C. § 284.

Defendants’ acts of infringement of the ’446 patent have caused and will continue to cause

Midas immediate and irreparable harm unless such infringing activities are enjoined by this

Court pursuant to 35 U.S.C. § 283. Midas has no adequate remedy at law.

                                    A.      Direct Infringement

       88.     On information and belief, Defendants have directly infringed one or more claims

of the ’446 patent in the Western District of Texas, the State of Texas, and elsewhere in the

United States, by at least making, having made, using, selling, and/or offering for sale appliance

immersion cooling systems that satisfy every limitation of at least claim 6 of the ’446 patent. If

any limitation of claim 6 is not practiced in a literal sense, then that limitation is present under

the doctrine of equivalents.

       89.     In particular, on information and belief, the Rhodium Operating Entities have

directly infringed one or more claims of the ’446 patent in the Western District of Texas, the

State of Texas, and elsewhere in the United States, by at least making, having made, using,

selling, and/or offering for sale appliance immersion cooling systems that satisfy every limitation

of at least claim 6 of the ’446 patent.

       90.     On further information and belief, the Defendant Rhodium Enterprises, Inc. and

Defendant Rhodium Technologies LLC have directly infringed one or more claims of the ’446



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patent in the Western District of Texas, the State of Texas, and elsewhere in the United States by

way of directing and controlling the activities of the Rhodium Operating Entities.

         91.   On further information and belief, the each of the Individual Defendants has

directly infringed one or more claims of the ’446 patent in the Western District of Texas, the

State of Texas, and elsewhere in the United States, by personally committing some or all of the

acts of direct infringement described above including by directing, participating in, authorizing,

and/or ratifying the infringing conduct of Rhodium Enterprises, Inc., Rhodium Technologies

LLC, and/or the Rhodium Operating Subsidiaries. See Lubby Holdings LLC v. Chung, 11 F.4th

1355, 1358 (Fed. Cir. 2021) (rejecting the view that piercing the corporate veil is required for

officer liability and noting that “Corporate officers can be personally liable for their own acts of

infringement, even if those acts were committed in their corporate capacity.”)

         92.   In addition, each of the Defendants is liable for the direct infringement of one or

more claims of the ’446 patent in the Western District of Texas, the State of Texas, and

elsewhere in the United States, by reason of the direct infringement by one or more other

Defendants, because the Defendants operate as a common enterprise and are alter egos of each

other.

         93.   Attached as Exhibit D is an exemplary claim chart detailing representative

infringement of claim 6 of the ’446 patent.



                                   B.     Induced Infringement

         94.   On information and belief, Defendants have been and are inducing infringement

of the ’446 patent by actively and knowingly inducing others (including each other) to make,

have made, use, sell, offer for sale, or import the infringing immersion cooling systems and tank

modules that embody or use the invention claimed in the ’446 patent in violation of 35 U.S.C.

§ 271(b).

         95.   Defendants have possessed specific intent to induce infringement of the ’446

patent. Specifically, Defendants have long been aware of the ’446 patent and the specific manner

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in which their immersion cooling system design infringes the ’446 patent, by virtue of detailed

claim charts provided to the Individual Defendants and either shared with all other Defendants or

that all other Defendants have knowledge of their infringement through the knowledge of the

Individual Defendants, who are officers, directors, and owners of the Rhodium Defendants.

Despite this knowledge of the patent and the infringing design, Defendants have induced third

parties to take actions that they know will infringe, either directly or contributorily, through the

actions described in this section and throughout this complaint.

       96.     On information and belief, Defendants have induced infringement by providing

designs and instructions to third party manufacturers and contractors to have made infringing

immersion cooling systems and tank modules.

       97.     Defendant Rhodium Enterprises, Inc., Defendant Rhodium Technologies LLC

and Individual Defendants have induced infringement by willfully providing infringing

directions, instructions and designs for immersion cooling systems and tank modules to among

other parties, the Rhodium Operating Subsidiaries, for knowing use in infringing activity to mine

bitcoin and generate revenue.

       98.     Defendant Rhodium Enterprises, Inc., Defendant Rhodium Technologies LLC

and the Individual Defendants have also induced infringement by willfully directing and

controlling the infringing activities of the Rhodium Operating Subsidiaries.

                                  Willfulness and Egregiousness

       99.     Midas incorporates by reference the preceding paragraphs, as if set forth herein.

       100.    All Defendants have willfully and maliciously infringed the ’457 and ’446 patents

at least since the date of their actual notice of the patents and their infringement. Specifically,

despite receiving detailed claim charts both in letters and having received such information

through the Immersion Systems litigation showing that their immersion cooling systems designs

infringes Midas’ patents, Defendants have continued to operate their infringing immersion

cooling systems. Indeed, Defendants have aggressively sought to expand their operations and



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add additional immersion cooling systems, knowing throughout their existence that they infringe

Midas’ patents.

          101.   The Individual Defendants (by way of Immersion Systems) actively sought to

conceal the existence of their Rhodium business and did not reveal its existence during the

course of the Immersion Systems litigation, despite clear discovery obligations to do so. The

Individual Defendants also actively sought to conceal that Immersion Systems had ceased

business operations, continuing the Northern District of Texas litigation for the true benefit of

the Rhodium entities and the Individual Defendants.

          102.   At the same time, on information and belief, the Individual Defendants, and/or

Rhodium directly or indirectly bankrolled the filing and prosecution, nominally in the name of

Immersion Systems, of an Inter parties review proceeding directed to attempt to invalidate the

’457 patent, as well as a Post-Grant review proceeding directed to attempt to invalidate the ’446

patent.

          103.   Defendants’ infringement has been egregious, wanton, malicious, and in bad faith.

The individual Defendants possessed full knowledge that their immersion cooling systems

design infringed the ’457 and ’446 patents, knew these patents were valid, did not attempt to

procure a license to these valid patents, and instead proceeded to start a new business using the

same or substantially the same infringing design. As Rhodium advertises, this immersion cooling

system design is critical to their business and a primary driver of their profitability, and yet

Defendants have knowingly and maliciously stolen Midas’ patented and innovative technology

for their own profit without compensating the inventors of the technology.



                     Additional Allegations Relating to the Asserted Patents

          104.   The ’457 patent is directed to an improved appliance immersion cooling system

and method of operation. Specifically, the ’457 patent seeks to solve at least two problems in the

prior art of appliance immersion cooling systems: (1) the difficulty of maintenance and access to

the electrical equipment in prior art vertical-stack-type systems, which necessitate draining the

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cooling fluid to gain access to the equipment; and (2) non-uniform flow patterns of the dielectric

fluid within the tank and constricted dielectric fluid supply and return ports, resulting in uneven

cooling and unnecessarily high fluid flow velocities. The invention of the ’457 patent is an

improvement over the prior art and provides greater efficiency and effectiveness through ease of

access to the electrical appliances in an open horizontal tank, substantially uniform fluid flow

patterns through all appliance slots leading to substantially uniform cooling, and lower fluid flow

velocities. The ’457 patent accomplishes these improvements through a unique, innovative

design, as described below, that achieves substantially uniform flow of dielectric fluid upwardly

through the tank, beginning from a plenum that substantially uniformly distributes the dielectric

fluid across the bottom of the tank and then a weir that is adapted to facilitate substantially

uniform recovery of the dielectric fluid that has cooled the appliances, where the fluid flows over

the weir into fluid recovery reservoirs, to then be cycled and re-cooled, for recirculation into the

tank. The ’457 patent therefore does not claim an abstract idea, law of nature, or natural

phenomenon, but instead to a tangible, patent-eligible invention.

       105.    The ’457 patent claims, among other things, an appliance immersion cooling

system that includes a tank adapted to immerse in a dielectric fluid a plurality of electrical

appliances, each in a respective appliance slot distributed vertically along, and extending

transverse to, a long wall of the tank. The tank includes a weir, integrated horizontally into the

long wall of the tank adjacent all appliance slots, having an overflow lip adapted to facilitate

substantially uniform recovery of the dielectric fluid flowing through each appliance slot, and a

dielectric fluid recovery reservoir positioned vertically beneath the overflow lip of the weir and

adapted to receive the dielectric fluid as it flows over the weir. The appliance immersion cooling

system also includes a primary circulation facility adapted to circulate the dielectric fluid through

the tank. The primary circulation facility includes a plenum, positioned adjacent the bottom of

the tank, adapted to dispense the dielectric fluid substantially uniformly upwardly through each

appliance slot. The appliance immersion cooling system also, in some embodiments, includes a

secondary fluid circulation facility adapted to extract heat from the dielectric fluid circulating in

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the primary circulation facility, and to dissipate to the environment the heat so extracted. The

appliance immersion cooling system also includes a control facility adapted to coordinate the

operation of the primary and, if included, the secondary fluid circulation facilities as a function

of the temperature of the dielectric fluid in the tank.

        106.    The ’457 patent also claims, among other things, a tank module adapted for use in

an appliance immersion cooling system. The tank module includes a tank adapted to immerse in

a dielectric fluid a plurality of electrical appliances, each in a respective appliance slot

distributed vertically along, and extending transverse to, a long wall of the tank. The tank

includes a weir, integrated horizontally into the long wall of the tank adjacent all appliance slots,

having an overflow lip adapted to facilitate substantially uniform recovery of the dielectric fluid

flowing through each appliance slot, and a dielectric fluid recovery reservoir positioned

vertically beneath the overflow lip of the weir and adapted to receive the dielectric fluid as it

flows over the weir. The tank module also includes a primary circulation facility adapted to

circulate the dielectric fluid through the tank, including a plenum, positioned adjacent the bottom

of the tank, adapted to dispense the dielectric fluid substantially uniformly upwardly through

each appliance slot, and a control facility adapted to control the operation of the primary fluid

circulation facility as a function of the temperature of the dielectric fluid in the tank.

        107.    The ’446 patent is directed to an improved appliance immersion cooling system

and method of operation. Specifically, the ’446 patent seeks to solve at least two problems in the

prior art of appliance immersion cooling systems: (1) the difficulty of maintenance and access to

the electrical equipment in prior art vertical-stack-type systems, which necessitate draining the

cooling fluid to gain access to the equipment; and (2) non-uniform flow patterns of the dielectric

fluid within the tank and constricted dielectric fluid supply and return ports, resulting in uneven

cooling and unnecessarily high fluid flow velocities. The invention of the ’446 patent is an

improvement over the prior art and provides greater efficiency and effectiveness through ease of

access to the electrical appliances in an open horizontal tank, substantially uniform fluid flow

patterns through all appliance slots leading to substantially uniform cooling, and lower fluid flow

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velocities. The ’446 patent accomplishes these improvements through a unique, innovative

design, as described below, that achieves substantially uniform flow of dielectric fluid upwardly

through the tank, beginning from a plenum that substantially uniformly distributes the dielectric

fluid across the bottom of the tank and then a weir that is adapted to facilitate substantially

uniform recovery of the dielectric fluid that has cooled the appliances, where the fluid flows over

the weir into fluid recovery reservoirs, to then be cycled and re-cooled, for recirculation into the

tank. The ’446 patent therefore does not claim an abstract idea, law of nature, or natural

phenomenon, but instead to a tangible, patent-eligible invention.

        108.    The ’446 patent claims, among other things, an appliance immersion cooling

system that includes a tank adapted to immerse in a dielectric fluid a plurality of electrical

appliances, each in a respective appliance slot distributed vertically along, and extending

transverse to, a long wall of the tank. The tank includes a weir, integrated horizontally into the

long wall of the tank adjacent all appliance slots, adapted to facilitate substantially uniform

recovery of the dielectric fluid flowing through each appliance slot. The appliance immersion

cooling system also includes a primary circulation facility adapted to circulate the dielectric fluid

through the tank. The primary circulation facility includes a plenum, positioned adjacent the

bottom of the tank, adapted to dispense the dielectric fluid substantially uniformly upwardly

through each appliance slot. The appliance immersion cooling system also includes, in at least

one embodiment, a secondary fluid circulation facility adapted to extract heat from the dielectric

fluid circulation in the primary circulation facility, and to dissipate to the environment the heat so

extracted, and a control facility adapted to coordinate the operation of the primary and secondary

fluid circulation facilities as a function of the temperature of the dielectric fluid in the tank.

        109.    The ’446 patent also claims, among other things, a tank module adapted for use in

an appliance immersion cooling system. The tank module includes a tank adapted to immerse in

a dielectric fluid a plurality of electrical appliances, each in a respective appliance slot

distributed vertically long, and extending transverse to, a long wall of the tank. The tank includes

a weir, integrated horizontally into the long wall of the tank adjacent all appliance slots, adapted

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to facilitate substantially uniform recovery of the dielectric fluid flowing through each appliance

slot. The tank module also includes a primary circulation facility adapted to circulate the

dielectric fluid through the tank, including a plenum, positioned adjacent the bottom of the tank,

adapted to dispense the dielectric fluid substantially uniformly upwardly through each appliance

slot, and a control facility adapted to control the operation of the primary fluid circulation facility

as a function of the temperature of the dielectric fluid in the tank.



                                             Jury Demand

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Midas respectfully requests

a trial by jury of any issues so triable by right.



                                           Prayer for Relief

          Wherefore, Midas requests judgment against Defendants as follows:

          A.     Adjudging that Defendants have directly infringed, and actively induced

infringement of, the ’457 patent, in violation of 35 U.S.C. § 271(a) and (b);

          B.     Adjudging that Defendants have directly infringed, and actively induced

infringement of the ’446 patent, in violation of 35 U.S.C. § 271(a) and (b);

          C.     Preliminarily and permanently enjoining Defendants, their employees, agents,

officers, directors, attorneys, successors, affiliates, subsidiaries, and assigns, and all of those in

active concert and participation with any of the foregoing persons or entities from infringing,

contributing to the infringement of, or inducing infringement of, the ’457 patent and of the ’446

patent;

          D.     Ordering Defendants to account for and pay damages adequate to compensate

Midas for Defendants’ infringement of, and inducement to infringe, the ’457 patent and the ’446

patent, including pre-judgment and post-judgment interest and costs, pursuant to 35 U.S.C.

§ 284;



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       E.      Ordering an accounting by Defendants for any infringing activity not presented at

trial and an award by the court of additional damages for any such infringing activity to Midas;

       F.      Ordering that the damages award by increased up to three times the actual amount

assessed, pursuant to 35 U.S.C. § 284;

       G.      Declaring this case exceptional and ordering Defendants to pay the cost of this

action, including all disbursements, and attorneys’ fees as provided by 35 U.S.C. § 285, together

with prejudgment interest; and

       H.      Awarding such other and further relief as this Court deems just and proper.



Dated: April 18, 2022
                                             Respectfully submitted,

                                             /s/ Henry Pogorzelski
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                                CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who have appeared electronically in this case are

being served on April 18, 2022 via the Court’s ECF system.


                                            /s/ Henry Pogorzelski
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